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                                UNITED STATES DISTRICT COURT
                             FOR THE SOUTHERN DISTRICT OF TEXAS
                                      HOUSTON DIVISION

 SHIRLEY CARLSON,                                   §
      Plaintiff,                                    §
                                                    §
                                                    §
                                                    §
 v.                                                 §      Civil Action No. 22-1506
                                                    §
                                                    §
                                                    §
 LAKEVIEW LOAN SERVICING, LLC,                      §
     Defendant,                                     §



                                JOINT NOTICE OF SETTLEMENT


         Plaintiff Shirley Carlson and Defendant Lakeview Loan Servicing, LLC (collectively, the

"Parties"), hereby file this Joint Notice of Settlement, respectfully showing the Court as follows:

         The Parties have reached a settlement regarding the claims and causes of action asserted in

the above-referenced and numbered cause. The Parties fully expect to present dismissal papers to

the Court within sixty (30) days. To preserve judicial economy, the Parties request that the Court

remove this case from the trial docket and abate all deadlines.




Joint Notice of Settlement
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                                                       Respectfully submitted,

                                                       BARRETT DAFFIN FRAPPIER
                                                       TURNER & ENGEL, LLP

                                                         /s/ R. Matthew Graham
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                                                       ATTORNEYS FOR DEFENDANT



                                                       /s/ James Minerve
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                                                       State Bar No. 24008692
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                                                       jgm@minervelaw.com
                                                       ATTORNEY FOR PLAINTIFF

                                 CERTIFICATE OF SERVICE

        I hereby certify that on this 20th day of June, 2022, I electronically filed the foregoing with
the Clerk of the Court using the CM/ECF filing system, and will send a true and correct copy to
the following:

VIA E-Service: jgm@minervelaw.com
James Minerve, Esq.
13276 N. Highway 183, Ste. 209
Austin, Texas 78750
Attorney for Plaintiff
                                                        /s/ R. Matthew Graham
                                                       R. Matthew Graham


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